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9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
                                     Western Division
12
13   SECURITIES AND EXCHANGE                      Case No. 2:18-cv-05008
     COMMISSION,
14                                                SEC’S MEMORANDUM OF POINTS
                  Plaintiff,                      AND AUTHORITIES IN SUPPORT
15                                                OF ITS MOTION FOR
            vs.                                   PRELIMINARY INJUNCTION,
16                                                APPOINTMENT OF A RECEIVER,
     RALPH T. IANNELLI and ESSEX                  ASSET FREEZES, AND OTHER
17   CAPITAL CORPORATION,                         RELIEF
18                Defendants.                     Date:      July 16, 2018
                                                  Time:      10:00 a.m.
19                                                Ctrm:      N/A
                                                  Judge:     N/A
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1    I.     INTRODUCTION
2           Ralph Iannelli runs Essex Capital Corporation (“Essex”), an equipment leasing
3    business, out of a three-person office in Santa Barbara, California. The company’s
4    purported business model is straightforward: to finance the purchase of equipment,
5    Essex borrowed from a bank and raised funds from promissory note investors. It then
6    leased that equipment out, and pocketed any margin between Essex’s borrowing
7    costs, on the one hand, and the incoming leasing revenue, on the other. But Essex
8    attracted promissory note investors with a high rate of return – generally 8.5% per
9    annum – that thinned its margins. And so, since as early as 2014, true operational
10   revenues from Essex’s leasing business have comprised only a small fraction of its
11   incoming cash flows. In practice, the majority of Essex’s funds have instead come
12   from its fund raising activities: drumming up additional investment from promissory
13   note holders, and obtaining commercial bank loans. This strain on Essex’s business
14   model became especially acute whenever lessees in its lease portfolio defaulted. In
15   that case, Essex still had to repay principal and interest owed on the debt it incurred
16   to buy the equipment leased by its defaulting lessee, but without the benefit of any
17   leasing revenue from that equipment acquisition. This came to pass on multiple
18   occasions in 2014 to 2017, when three Essex lessees filed for bankruptcy. At bottom,
19   Essex has been running in the red for years, and that fact is not disputed.
20          By Iannelli’s own admission, Essex was “running out of deficit” in not only
21   2015, but through 2016 and 2017 as well. In all, Essex sustained a staggering $31
22   million in operating losses in 2014, 2015, and 2016 (its financials for 2017 have not
23   yet been completed). Yet in that same timeframe, defendants raised over $80 million
24   from promissory note investors on the supposed strength and stability of Essex’s
25   equipment leasing business. This SEC enforcement action arises from what Iannelli
26   and Essex did to maintain the false veneer of Essex’s financial success, and what they
27   did to stay current on Essex’s debt obligations in the face of a severe revenue
28   shortfall.

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1          Stated simply:
2                Defendants raised funds from new investors in order to pay existing
3                 investors what they were owed.
4                In the course of raising those new funds, defendants materially
5                 misrepresented Essex’s financial condition, lied about the basic nature of
6                 the investments they were offering, and Iannelli personally guaranteed
7                 his investors’ returns without having any coincident ability to honor that
8                 commitment.
9    That mirage of commercial viability accrued to Iannelli’s direct benefit. From 2014
10   to 2016 – while Essex continued to raise funds from new investors, and in spite of the
11   firm’s dire financial straits – Iannelli paid himself more than $7 million in the form of
12   discretionary bonuses and no-interest/no-maturity-date loans.
13         Because the evidentiary record establishes a prima facie case for violations of
14   the federal securities laws, and because defendants are reasonably likely to repeat
15   their violations, the SEC now moves for a preliminary injunction. As Essex’s cash
16   flow position became increasingly calamitous, Iannelli engaged in preferential
17   investor treatment when refinancing or promising to repay the debt of certain
18   investors to the detriment of others. Accordingly, the SEC respectfully requests, inter
19   alia, that the Court appoint an equity receiver over Essex – to marshal and preserve
20   existing assets, clarify the company’s financial affairs, and ensure that defendants do
21   not further misappropriate assets or engage in preferential investor treatment – and
22   thus bring defendants’ financial house of cards to an end.
23   II.   STATEMENT OF FACTS
24         A.     Essex’s Equipment Leasing Business
25                1.    Iannelli and Essex’s business model
26         Iannelli is Essex’s founder and sole shareholder. Declaration of Yolanda
27   Ochoa (“Ochoa Decl.”), Ex. 4 (Iannelli Inv. Test.) at 49:22-25. Aside from Iannelli,
28   Essex has two other employees, an administrative person and an operational

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1    employee who assists Iannelli with Essex’s business. Id. at 51:24-52:8. All of
2    Essex’s employees report to Iannelli, who oversees and personally conducts the
3    company’s operations. Id. at 51:3-6, 56:1-5. Iannelli controlled Essex’s corporate
4    bank and brokerage accounts and is their sole signatory. Id. at 41:20-42:25;
5    Declaration of Rhoda Chang (“Chang Decl.”) at ¶ 5(c).
6          Essex leases equipment to private equity and venture capital-backed startup
7    companies. Ochoa Decl., Ex. 4 (Iannelli Inv. Test.) at 50:19-51:2. To fund its
8    equipment purchases, Essex obtains financing through: (i) loans from commercial
9    banks; and (ii) investor-financed promissory notes. Ochoa Decl. at ¶ 12, Ex. 9 at
10   ECC045380 and 382; Ex. 4 (Iannelli Inv. Test) at 58:9-20, 98:15-99:9. In general,
11   Essex owes interest on its promissory notes at rates of about 8% per year. Ochoa
12   Decl., Exhs. 13-18, 4 (Iannelli Inv. Test) at 80:12-23; 103:108-105:5, 106:18-107:11,
13   110:20-111:8, 112:5-113:14, 126:13-128:12, 129:3-11. On the commercial loan side,
14   Essex’s bank lenders are secured by the leased capital equipment purchased with the
15   loan proceeds. Ochoa Decl. at ¶ 12, Ex. 9 at ECC045382. The vast majority of the
16   promissory notes Essex sold to investors, on the other hand, are not secured by any
17   equipment collateral. Id. Instead, promissory note investors relied upon a guarantee
18   backed by both Iannelli’s and Essex’s assets. Ochoa Decl., Ex. 4 (Iannelli Inv. Test)
19   at 94:15-95:5, 108:15-18, 113:22-114:7.
20         The investor promissory notes issued since 2014 have maturity dates which
21   generally range from 1-3 years. See, e.g., Ochoa Decl., at ¶¶ 15-16, Exs. 12 and 13.
22   In practice, however, because most of Essex’s promissory notes contain an automatic
23   rollover provision, many investors have opted to rollover their note, and continue
24   receiving the interest promised by Essex, even after their note became due. Ochoa
25   Decl., at ¶¶ 13-16, Exs. 10-13. Essex currently owes about $28 million to promissory
26   note investors who, because their notes have already matured, are entitled to demand
27   repayment of their principal in the near term. Chang Decl. at ¶ 26(e).
28         Essex then endeavored to lease the capital equipment financed by its bank

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1    loans and promissory notes to lessees – Essex’s leasing portfolio focused on private-
2    equity backed startup ventures – at a 10% rate of return. Ochoa Decl., at ¶ 7, Ex. 4
3    (Iannelli Inv. Test) 50:19-51:2, 68:24-69:3, ¶ 12, Ex. 9 at ECC045380. And thus,
4    Essex purported to make profits on the difference between the interest rate it earned
5    on equipment leases and the interest rate Essex paid to its investors and bank lenders.
6    Id.. Essex’s business model assumed that once leased, the company’s debt-financed
7    equipment would actually generate the revenue stream contemplated by the lease. In
8    the event of a lessee’s bankruptcy, however, that assumption is mistaken.
9                 2.    Essex’s incoming cash was largely from financing activities,
10                      and not leasing operations
11         At the end of 2014, one of Essex’s lessees, Passaic Health Care, filed for
12   bankruptcy. Ochoa Decl., Ex. 4 (Iannelli Inv. Test.) at 69:23-70:3. Passaic’s
13   bankruptcy was “particularly damaging” to Essex because it caused the Essex to lose
14   $7.8 million in equipment leasing revenue (along with another $800,000 in legal fees
15   incurred litigating with Passaic), while still being obligated to make payments on the
16   debt Essex had incurred to acquire the equipment leased to Passaic. Id. at 69:15-
17   70:20, 83:25-84:5. The revenue shortfall from Passaic’s bankruptcy “put a lot of
18   stress on the company.” Id. at 69:15-70:20. Two other lessee bankruptcies in early
19   2017 had a similar adverse impact on Essex’s financial condition, since in each case,
20   Essex had to weather a substantial loss of leasing revenue without any concomitant
21   reduction in the debt load that Essex took on when purchasing the equipment leased
22   to its now-bankrupt lessees. Id. at 69:15-20, 84:5-8, 143:18-20.
23         These bankruptcies only heightened an already entrenched aspect of Essex’s
24   business: in truth, the majority of Essex’s incoming funds were not being generated
25   by its leasing operations, and instead originated from new promissory note investors
26   and additional bank lending. For example, from 2014 to 2016, about $107 million of
27   Essex’s incoming cash came from investors and banks. Chang Decl. at ¶ 23. In
28   contrast, Essex only generated $34.4 million in equipment leasing revenue during that

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1    same timeframe. Id. The truth about Essex’s business – that its core work was
2    simply raising new capital, rather than earning a return on that capital through
3    equipment leasing – is also reflected in the company’s cash outflows. From 2014 to
4    2016, Essex spent just $39.4 million to purchase new equipment, compared to $65
5    million spent to pay back Essex’s investors and commercial lenders. Id.
6                 3.     Essex was “running out of deficit” from 2014 to 2017
7          The financial consequence of these lessee bankruptcies, and Essex’s reliance
8    on new fundraising to keep its operations going, is not disputed. In his sworn
9    testimony before the SEC, Iannelli conceded that Essex was “running out of deficit”
10   in 2015, 2016 and 2017. Ochoa Decl., Ex. 4 at 67:22-24, 69:8-10, 85:25-86:3,
11   235:23-25 (“We were ramped up to start to do business, and we had a number of
12   bankruptcies, which hurt our business dramatically. I was like a one-armed paper
13   hanger. Okay?”). More specifically, Essex’s restated financial statements for 2014
14   reported a net operating loss of $2.14 million. Chang Decl. at ¶ 15, Ex. 2. Its restated
15   financial statements for 2015 reported a net operating loss of $7.04 million. Chang
16   Decl. at ¶ 17, Ex. 4. According to its just-completed financials, Essex’s operating
17   losses ballooned in 2016 to $22.8 million. Chang Decl. at ¶¶ 19-20, Ex. 6. And
18   while Essex has not finished its financial statements for 2017, its bank records
19   demonstrate that the company’s 2017 cash outlays exceeded its 2017 cash inflows, a
20   fact that Iannelli readily admitted when questioned under oath in November 2017.
21   Ochoa Decl., Ex.4 at 67:22-24 (“Q. Is Essex Capital currently running out of deficit?
22   A. More money is going out than is coming in.”). In spring 2017, Essex restated its
23   2014 and 2015 financial statements; each set of restated financials added a “going
24   concern” note providing that there is “substantial doubt about the Company’s ability
25   to continue as a going concern.” Chang Decl. at ¶¶ 15-18, Ex. 2 and 4. Essex’s just-
26   finalized 2016 financial statements contain the same note. Chang Decl. at ¶¶ 19-20,
27   Ex. 6. In short, Essex has been hemorrhaging cash for years, and Iannelli was candid
28   on what he claims to be the root cause of that deficit:

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1                 [W]e have a very good business model, as long as people don’t go
                  bankrupt. And I don’t mean to be flip about that, but – but – I mean,
2                 it works. We’ve just been burdened by three bankruptcies.
3    Ochoa Decl., Ex. 4 at 68:25-69:4.
4          Yet when marketing promissory notes to investors in an effort to fill the
5    breach, Iannelli withheld the truth. Id. at 71:11-20 (“I didn’t think that it was
6    necessary to tell them because I thought this was a temporary problem”). As
7    demonstrated above, Essex’s “problems” were by no means “temporary.” Its
8    operating losses began no later than 2014 and have continued to this day. And so in
9    order to stay “current” on its debt and conceal the fact that Essex’s “very good
10   business model” was in fact floundering, defendants resorted to a pattern and practice
11   of Ponzi-like payments, as well as material misrepresentations and omissions to
12   Essex’s promissory note investors.
13         B.     Defendants’ Scheme to Avoid Defaulting on Essex’s Obligations by
14                Making $15 Million in Ponzi-Like Payments
15         Essex is marketed as an equipment leasing company, but its main source of
16   cash isn’t leasing income from operations, but rather funds either borrowed from
17   banks or raised through the sale of promissory notes to investors. From 2014 through
18   2016, leasing income comprised no more than a quarter of the company’s cash
19   inflows. Money from investors and banks, by contrast, made up on average about
20   70% of the company’s cash inflows. Chang Decl. at ¶ 22. Not surprisingly then,
21   since at least 2014, Essex’s lease income has been insufficient to cover the principal
22   and interest Essex owed to its promissory note investors. In 2017, for instance, Essex
23   operated at an average monthly deficit of nearly $1 million. Chang Decl. at ¶ 21.
24   That persistent deficit in operational revenue has forced the company, on dozens of
25   occasions, to use incoming investor funds to pay existing investors their principal and
26   interest. That Essex was borrowing from Peter to pay Paul in order to stay afloat
27   (also called a Ponzi scheme) is borne out by a forensic accounting analysis of the
28   day-to-day impact of each and every credit and debit transaction effected in Essex’s

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1    corporate bank accounts from January 1, 2014 to March 30, 2018.
2          In all, a forensic analysis shows that from 2014 through March 2018, Essex
3    made 89 different payments to investors using funds it had received from other Essex
4    investors. Chang Decl. at ¶¶ 6-14, Ex. 1. Over the course of four years, Essex
5    transferred an aggregate of no less than $15.6 million in funds from some investors to
6    pay returns and repay principal to other investors. Id. at ¶ 14, Ex. 1. As just one
7    example, an October 2015 influx of millions of dollars from investors places
8    defendants’ scheme in stark relief.
9          On October 20, 2015, Essex had only $772,463.99 in available funds, and of
10   that amount, $539,220.45 represented funds raised from Essex investors. Chang
11   Decl. at ¶ 14. Stated differently, Essex was holding only $233,243.54 in cash that it
12   had generated from its operational activities. Id. But from October 21 to October 23,
13   Essex had to make $1,103,225.51 in interest and principal payments to its existing
14   investors, and it did not have enough money from operations ($233,243.54) to meet
15   its obligations to existing investors. Id. Essex, however, had just solicited $4 million
16   in new investment from the clients of a registered investment adviser, Granger
17   Management, LLC (“Granger”), funds that arrived in the nick of time on October 21.
18   Id. With that new money in hand, Essex then effectuated a series of Ponzi-like
19   payments. After receiving Granger’s money on October 21, Essex immediately
20   repurposed those funds to pay returns to its existing investors on October 21, 22 and
21   23. Id. That was fraudulent, particularly since, as explained below, Essex had
22   represented to Granger that its clients’ investment would be used to finance the
23   acquisition of equipment leases that Granger would own.
24         Essex teetered on this financial high-wire for years. And while it did remain
25   “current” on its debt, Essex resorted to fraud to do it. Essex never disclosed to
26   promissory note investors that its equipment leasing operations were not the primary
27   source of their returns. Thus, despite Essex sustaining multi-million dollar operating
28   losses each and every year, nothing appeared amiss to incoming investors and those

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1    existing note holders who chose to roll over their mature debt. These Ponzi-like
2    payments were only one component of defendants’ fraud.
3          C.     Defendants’ Material Misrepresentations and Omissions When
4                 Raising Investor Funds
5          Since 2014, Essex raised more than $80 million from about 70 promissory note
6    investors. Chang Decl. at ¶ 24. About half of these investors are Iannelli’s friends,
7    business associates, or their referrals. Ochoa Decl., ¶ 7, Ex. 4 (Iannelli Inv. Test)
8    100:1-20; ¶ 15, Ex. 12. The bulk of the remaining promissory note investors are
9    clients of two registered investment advisers that were solicited by Essex for
10   investment: Daniel Investment Associates, LLC (“DIA”) and Granger. Ochoa Decl.,
11   ¶¶ 13 and 17, Exs. 10 and 14; ¶ 7, Ex. 4 (Iannelli Inv. Test) 98:15-99:9. Essex has
12   sold $8.4 million in promissory notes to 21 DIA clients since 2014. Id. at ¶ 13, Ex.
13   10. For their part, Granger clients – through a pooled investment fund – have
14   invested $23.36 million in Essex promissory notes since 2015. Essex’s increased
15   fundraising from registered investment advisers, in contrast to its historical investor
16   base of Iannelli’s friends and business associates, were part of Iannelli’s goal of
17   “institutionalizing the business and becoming less reliant on non-institutional
18   lenders.” Id., Ex. 4 (Iannelli Inv. Test.) at 144:14-145:7. As those institutional
19   investments came in the door from DIA and Granger, Iannelli took more from the till
20   and his compensation markedly increased. Chang Decl. at ¶ 30. However, the more
21   than $30 million Essex raised from DIA’s and Granger’s advisory clients was
22   procured by fraud.
23                1.      Defendants gave DIA false financial statements overstating
24                        Essex’s assets by more than $20 million
25         In May 2017, after receiving a subpoena from the SEC, the company restated
26   its 2014 and 2015 financial statements. Chang Decl. at ¶¶ 15, 17, Exs. 2 and 4. For
27   2014, total assets reported had been inflated by $23.3 million, and in 2015, Essex’s
28   total assets reported had been inflated by $53.4 million. Chang Decl. at Exs. 2-5.

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1    This gross overstatement of Essex’s assets happened because of Iannelli.
2          In January 2014, Iannelli provided the outside accountant preparing Essex’s
3    financial statements with an incorrect SEC filing showing that Essex held 1.5 million
4    shares of a company called Revance. Iannelli soon knew, however, that Essex’s
5    holdings were actually in the range of 145,000 shares. He subsequently received
6    corrective documentation from Revance and its transfer agent on January 22,
7    February 12, and March 19, 2014, all of which made it clear that Essex’s true stake in
8    Revance was nowhere near the 1.5 million shares that Essex’s accountant had been
9    led to believe. Ochoa Decl. at ¶¶ 19-21, Exs. 16-18 (Inv. Test. Exs. 111, 112 and
10   113); Ex. 4 (Iannelli Inv. Test.) at 157:11-158:22, 163:2-170:12; Ex. 5 (Harris Inv.
11   Test.) at 63:3-23, 64:9-65:2, 173:23-174:23. Despite knowing no later than March
12   2014 that he had provided Essex’s accountant with a wildly incorrect Revance share
13   count, Iannelli allowed the accountant to prepare Essex’s 2014 and 2015 financials on
14   the basis of that wrong information. The total assets reported in Essex’s 2014 and
15   2015 financials were false – off by a delta of $23.3 million and $53.4 million,
16   respectively – and they remained uncorrected until 2017, when Essex restated its
17   financials upon learning that the SEC was investigating. Ochoa Decl., Ex. 4 (Iannelli
18   Inv. Test.) at 209:3-12 (Iannelli flagged issue for Essex’s accountant only after
19   receiving SEC subpoena in 2017).
20         Two years earlier, however, Essex defrauded DIA’s advisory clients when it
21   provided those false 2014 and 2015 financials to DIA in the course of soliciting their
22   investment. In spring 2015, Iannelli sought to raise additional funds from DIA
23   clients, and as part of that effort, Essex provided DIA with the company’s false
24   financial statements for 2014 on March 9, 2015, and the company’s false financial
25   statements for 2015 in early 2016. Ochoa Decl., Ex. 6 (Van Wyk Inv. Test.) at 18:11-
26   17; Ex. 4 (Iannelli Inv. Test.) at 176:13-19. After receiving Essex’s false financial
27   statements, DIA clients invested over $6.9 million in Essex promissory notes from
28   March 2015 through March 2017. Ochoa Decl. at ¶ 13, Ex. 10.

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1          DIA’s investment manager reviewed and relied on those false financials when
2    recommending Essex’s promissory notes to his clients for investment. Ochoa Decl.,
3    Ex. 6 (Van Wyk Inv. Test.) at 18:18-22, 184:1-186:10. The overstatement of Essex’s
4    assets in the 2014 and 2015 financial statements defendants provided to DIA would
5    have been material to its investment recommendation, and had DIA known of the
6    errors, they would have at a minimum engaged in a greater level of due diligence on
7    Essex’s true liquidity and cash flow position. Id. at 48:14-50:8, 187:13-189:19.
8    What’s more, the inclusion of a going concern note to Essex’s 2014 and 2015
9    financials would have likewise impacted DIA’s investment recommendation. Id. at
10   53:6-54:6. Iannelli admitted that he knew Essex’s asset values were inflated, but
11   claimed to not know to what degree. Id., Ex. 4 at 155:17-25; see also 232:21-233:10.
12   But as DIA’s investment manager put it, “$30 million is a lot of money. I think that
13   even if you’re remotely aware that something was off, that’s not something you’re
14   going to miss.” Id., Ex. 6 (Van Wyk Inv. Test.) at 58:20-24; see also Ex. 5 (Harris
15   Inv. Test.) at 116:10-19. Once it discovered that Essex was restating its financials,
16   DIA stopped investing its clients in Essex. Id., Ex. 6 (Van Wyk Inv. Test.) at 45:22-
17   24.
18                2.    Defendants lied to Granger about its basic investment
19         From 2015 to 2016, defendants raised an additional $23 million in investments
20   from Granger advisory clients. Chang Decl. at ¶ 25. Rather than purchasing
21   individual promissory notes from Essex, those clients pooled their money in a
22   Granger client fund, which then invested $10 million (in 2015) and $13.36 million (in
23   2016) with Essex. Id. In exchange for that $23.36 million, the Granger client fund
24   received a 50% stake in two LLC vehicles co-owned with Essex. Essex represented
25   that it would use that $23.36 million in investor money to: (i) buy equipment and
26   secure lease agreements for that equipment; (ii) assign those leases to the two LLC
27   vehicles; and (iii) split the revenue generated by those leases (lease payments, end-of-
28   lease residual payments, and warrants from lessees) between the two members of the

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1    LLC vehicles, the Granger client fund and Essex. Ochoa Decl., Ex.at ¶ 11, Ex. 7
2    (Present Inv. Test) at 14:16.-18:20, 64:7-24, 68:11-69:9; 84:1-15, 124:16-125:20, ¶¶
3    22-23, Exs. 19-20.
4          Essex never assigned a single lease to either of the LLC vehicles. Ochoa Decl.,
5    Ex. 4 (Iannelli Inv. Test.) at 256:2-6, 271:13-273:3, 275:1-276:13; Ex. 8 (Present Inv.
6    Test.) at 87:10-90:8; ¶ 24, Ex. 21 (Inv. Ex. 60). Instead, defendants provided Granger
7    with multiple lease assignments, executed by Iannelli, which referenced schedules
8    purportedly listing the leases to be assigned. Id. Those schedules, however, were all
9    missing or if provided, left blank. Id. In his testimony before the SEC, Iannelli
10   admitted that Essex was unable to assign any leases to the LLC vehicles. Id., Ex. 4
11   (Iannelli Inv. Test.) at 256:2-6, 266:16-267:1. Defendants accordingly lied to
12   Granger about a fundamental feature of Granger’s supposed investment.
13         The agreed-upon investment structure – formation of a jointly-owned LLC
14   which actually held the revenue-generating leases – was “very material” to Granger’s
15   investment. Id., Ex. 7 (McManus Inv. Test.) at 48:2-6, 73:22-74:4, 91:7-92:19 (“we
16   wanted to own them … with our name on them and for just greater security”); Ex. 8
17   (Present Inv. Test.) at 15:12-16:1, 17:3-16. Had Granger known that leases were not
18   going to be assigned to the LLC vehicle, it never would have invested its clients in
19   Essex. Id., Ex. 7 (McManus Inv. Test.) at 91:15-20; Ex. 8 (Present Inv. Test.) at
20   18:11-20 (“We would not have engaged in this transaction unless Mr. Iannelli
21   expressly agreed that the leases would be owned by [Granger]”), 90:9-91:22.
22         Iannelli further represented to Granger that he would personally match the
23   Granger client fund’s investments “one-to-one,” a commitment that Iannelli later
24   confirmed at Granger’s request. Id., at ¶ 26, Ex. 22 (Inv. Ex. 119), Ex. 4, (Iannelli
25   Inv. Test) at 277:7-279:21 (“As always we are 50/50 on each transaction.”). This
26   representation mattered and was significant to Granger’s decision to invest: having
27   promised to put Essex’s money alongside Granger’s investment, defendants led
28   Granger to believe that Iannelli was aligning his interests with Granger’s clients by

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1    sharing the risk of investment with them. Id., Ex. 7 (McManus Inv. Test.) at 79:10-
2    20. This too was false. Iannelli and Essex did not match a single dollar of Granger’s
3    $23.36 million investment. Id., Ex. 4 (Iannelli Inv. Test.) at 276:14-277:1, 280:2-
4    280:21. Iannelli admitted that he hadn’t because he and Essex lacked the funds to do
5    so. Id., Ex. 4 at 279:3-281:4.
6                 3.     Iannelli guaranteed debt that far exceeded his net worth
7          Since 2015, Essex has issued about $60 million in promissory notes that
8    Iannelli personally guaranteed. Id.l., Ex. 4 (Ianelli Inv. Test.) at 104:4-8, 108:15-18,
9    112:22-113:1, 113:24-114:4, 125:24-126:6. Iannelli’s personal guarantees far
10   exceeded his net worth. Id. at 320:18-321:2, 323:24-324:2. Iannelli knew that. Id. at
11   324:20-25. He didn’t tell note investors that since “no one asked me.” Id. at 325:2-7.
12   Still, Iannelli personally guaranteed investors’ promissory notes because “they felt
13   better knowing that I was personally guaranteeing the note.” Id. at 325:9-13.
14   Iannelli’s personal guarantee and net worth were factors that DIA considered when
15   deciding to recommend an investment in Essex to its clients. DIA would not have
16   recommended investment in Essex if it had determined Essex and Iannelli “wouldn’t
17   be able to stand behind the personal guarantee and the terms of the notes.” Id., Ex. 6
18   (Van Wyk Inv. Test.) at 50:10-19.
19         D.     Iannelli’s Outsized Compensation v. Essex’s Struggling Business
20         From 2014 to 2016, Essex sustained a total operating loss of more than $31
21   million. In that same time period, however, Iannelli paid himself $7.2 million in the
22   form of discretionary bonuses and fund transfers that were booked as “loans.” Chang
23   Decl. at ¶¶ 27-30. During the SEC’s investigation, Essex failed to produce any
24   written loan agreements between Essex and Iannelli, which would set forth whether
25   any interest is due and the maturity dates for those loans, and so those “loans” appear
26   to be interest-free and payable only when Iannelli decides, in his own judgment, that
27   he must pay back Essex. See Chang Decl. at ¶ 29. Indeed, it was Iannelli’s practice
28   to borrow and pay back large lump sums from Essex through the course of the year,

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1    and then at the end of the year, forgive portions of that loan and record that loan
2    forgiveness as his discretionary compensation. Id.
3          E.     Essex’s Current Condition and Risk of Preferential Payments
4          Essex stopped offering its promissory notes after the SEC commenced its
5    investigation in 2017. The company’s bank lender will not extend any additional
6    loans to Essex until there is a resolution of the SEC matter. Ochoa Decl., Ex. 4
7    (Iannelli Inv. Test.) at 137:17-19. At present, Essex generates about $1.34 million in
8    lease income each month. Sixty-one percent of that income, however, is being eaten
9    up by payments on Essex’s bank loans, leaving only about $510,000 each month to
10   fund Essex’s ongoing operations and service its remaining debt to promissory note
11   investors. But in 2017, Essex had to pay, on average, $1.4 million in monthly interest
12   and principal repayment to its note holders. Id., Exs. 10-11 (Essex noteholder
13   schedules). Taking into account another $200,000 in monthly operational expenses,
14   Essex has been hemorrhaging in excess of $1 million in cash a month through 2017.
15   Chang Decl. at ¶ 21. And compounding matters, the total amount of noteholder debt
16   that has matured, which Essex would have to repay in the near term if investors
17   sought redemption, is about $28 million. Id. at ¶ 26(e). This situation is untenable.
18         Essex does have several million in existing assets. As of March 2018, the
19   company held about $11.7 million in marketable securities in its brokerage accounts.
20   Those assets, however, are encumbered by a $5 million margin loan that Essex took
21   out last year. That margin loan, as well as Essex’s liquidation of about $4 million in
22   securities in its brokerage account, was needed in 2017 to raise enough cash to stay
23   current on Essex’s note. Chang Decl., ¶ 26, Exs. 8 and 14. Essex’s remaining assets
24   are at risk of liquidation and transfer in a way that inequitably prioritizes some
25   investors over others.
26         Iannelli has already opted to fully redeem certain promissory note investors,
27   even though their debt had not yet matured and Essex was under no legal obligation
28   to do so. Ochoa Decl., Ex. 4 (Iannelli Inv. Test.) at 74:20-76:7, 79:14-24. As another

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1    example, Essex has restructured its debt with one promissory noteholder by
2    transferring securities with a market value of $900,000 to the noteholder, in exchange
3    for a deferred payment plan. Id., ¶ 6 Ex. 3 (7/27/17 cover letter). Similarly, Essex at
4    one point promised Granger this spring that, by liquidating its marketable and illiquid
5    securities holdings, Essex will soon become current on its obligations (Essex is
6    behind on its interest payments to Granger). Id. ¶ 26, Ex. 21. If not halted, there is a
7    serious probability that these kinds of efforts – the equivalent of rearranging the deck
8    chairs on the Titanic – will result in preferential treatment for some of Essex’s
9    investors, at the expense of other investors.
10   III.   ARGUMENT
11          A.    The SEC Seeks a Preliminary Injunction in the Public Interest
12          Section 20(b) of the Securities Act and Section 21(d) of the Exchange Act
13   authorize the SEC to obtain a preliminary injunction, without a bond. See 15 U.S.C.
14   §§ 77t(b), 78u(d) & 80b-9. In the Ninth Circuit, preliminary injunctive relief may be
15   ordered if there is “either (1) a combination of probable success on the merits and the
16   possibility of irreparable injury or (2) that serious questions are raised and the balance
17   of hardships tips in the applicant’s favor.” U.S. v. Nutri-Cology, Inc., 982 F.2d 394,
18   397 (9th Cir. 1992). The SEC, however, appears before the Court “not as an ordinary
19   litigant, but as a statutory guardian charged with safeguarding the public interest in
20   enforcing the securities laws.” SEC v. Management Dynamics, Inc., 515 F.2d 801,
21   808 (2d Cir. 1975). Because this enforcement action is brought in the public interest,
22   the Court’s “equitable powers assume an even broader and more flexible character
23   than when only a private controversy is at stake.” FSLIC v. Sahni, 868 F.2d 1096,
24   1097 (9th Cir. 1989); see also U.S. v. Odessa Union Warehouse Co-op, 833 F.2d 172,
25   174-75 (9th Cir. 1987). District courts in the Ninth Circuit have interpreted the
26   preliminary injunctive relief standard in SEC emergency actions to require only a
27   two-prong showing: (1) a prima facie case that the defendants have violated the
28   federal securities laws, and (2) a reasonable likelihood that the defendants will repeat

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1    their violations.1 The SEC has made this showing here.
2          B.     The SEC Has Made a Prima Facie Showing That Iannelli and Essex
3                 Committed Securities Fraud
4          Iannelli and Essex engaged in a fraud in violation of the antifraud provisions of
5    Section 17(a) of the Securities Act, and Section 10(b) of the Exchange Act and Rule
6    10b-5 thereunder. Section 17(a) prohibits fraud in the offer or sale of securities, and
7    Section 10(b) and Rule 10b-5 prohibit fraud in connection with the purchase or sale
8    of any security. See 15 U.S.C. § 77q(a); 15 U.S.C. § 78j(b); 17 C.F.R. § 240.10b-5;
9    SEC v. Dain Rauscher, Inc., 254 F.3d 852, 855 (9th Cir. 2001). Defendants violated
10   both antifraud provisions.
11                1.    To stay afloat, defendants resorted to Ponzi-like payments
12         Essex has sustained severe operating losses over the last four years, losses that
13   were spurred in part by a spate of lessee bankruptcies. With bank payments
14   consuming upwards of 61% of its leasing income, Essex was only able to stay current
15   on its obligations to promissory note investors by paying those investors with funds
16   received from other investors. In all, Essex has made $15.6 million in Ponzi-like
17   payments since 2014. That is a textbook scheme to defraud, one that violated
18   Sections 17(a)(1) and (a)(3) of the Securities Act and Section 10(b) of the Exchange
19   Act and Rule 10b-5(a) and (c) thereunder.
20         Sections 17(a)(1) of the Securities Act prohibits any person, “in the offer or
21   sale of any securities,” from employing “any device, scheme, or artifice to defraud,”
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     1
      See, e.g., SEC v. Schooler, 902 F.Supp.2d 1341, 1345 (S.D. Cal. 2012); SEC v.
24   Capital Cove Bancorp, LLC, Case No. 8:15-cv-00980-JLS-JC, 2015 U.S. Dist.
     LEXIS 174962, at *16-17 (C. D. Cal. Sept. 1, 2015); SEC v. Headgear, Inc., No.
25   3:14-CV-04294-RS, 2014 WL 6900938, at *1 (N.D. Cal. Dec. 8, 2014); SEC v.
     Homestead Props., L.P., No. SACV09-01331-CJC(MLGx), 2009 WL 5173685, at *2
26   (C.D. Cal. Dec. 18, 2009); SEC v. Trabulse, 526 F.Supp.2d 1008, 1012 (N.D. Cal.
     2007); see also SEC v. United Financial Group, Inc., 474 F.2d 354, 358 (9th Cir.
27   1973); SEC v. Unique Financial Concepts, Inc., 196 F.3d 1195, 1199 n.2 (11th Cir.
     1999); Management Dynamics, 515 F.2d at 808.
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1    15 U.S.C. § 77q(a)(1), or from engaging in “any transaction, practice, or course of
2    business which operates, or would operate, as a fraud or deceit upon the purchaser,”
3    15 U.S.C. § 77q(a)(3). Section 10(b) of the Exchange Act and Rules 10b-5(a) and (c)
4    thereunder make it unlawful for any person, “in connection with the purchase or sale
5    of any security,” “[t]o employ any device, scheme or artifice to defraud,” or “[t]o
6    engage in any act, practice, or course of business which operates or would operate as
7    a fraud or deceit upon any person.” 15 U.S.C. § 78j(b); 17 C.F.R. § 240.10b-5(a), (c).
8    To be liable for a scheme to defraud, a defendant “must have engaged in conduct that
9    had the principal purpose and effect of creating a false appearance of fact in
10   furtherance of the scheme.” Simpson v. AOL Time Warner, Inc., 452 F.3d 1040, 1048
11   (9th Cir. 2006).
12         A Ponzi scheme is a scheme to defraud under the antifraud provisions. See
13   SEC v. Neman, 2016 WL 6661174, *5 (C.D. Cal. Jul. 15, 2016); Burnett v. Rowzee,
14   561 F. Supp. 2d 1120, 1127-28 (payments of sham returns are deceptive acts that
15   “allows the scheme’s principals to continue to draw investments from other sources
16   by creating the appearance of a viable investment opportunity”); SEC v. Traffic
17   Monsoon, LLC, 245 F. Supp. 3d 1275, 1299 (D. Utah 2017); Mukamal v. General
18   Electric Capital Corp. (In re Palm Beach Fin. Partners, L.P.), 517 B.R. 310, 346
19   (Bankr. S.D. Fla. 2013) (in a Ponzi scheme, “the entity gives the false appearance of
20   profitability by seeking investments from new sources rather than earning profits
21   from assets already invested.”); SEC v. Helms, 2015 WL 5010298, at *13–*14 (W.D.
22   Tex. Aug. 21, 2015) (concluding that a Ponzi scheme was a “scheme to defraud”
23   under Rule 10b–5 and Section 17(a)); see also Donell v. Ghadrdan, 2013 WL 692853
24   at *1 (C.D.Cal. Feb. 26, 2013) (a Ponzi scheme is “any sort of fraudulent
25   arrangement that uses later acquired funds or products to pay off previous investors”).
26         Here, defendants engaged in a scheme to defraud investors by making $15
27   million in Ponzi-styled principal and interest payments from 2014 through 2017.
28   Those payments were passed off as returns derived from Essex’s equipment leasing

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1    business when they were in fact payments made using other investors’ capital. By
2    engaging, over a protracted period of four years, in scores of Ponzi-like payments in a
3    failed effort to bail water out of Essex’s sinking financial ship, defendants violated
4    the antifraud provisions of the federal securities laws.
5                 2.     Defendants made material misrepresentations and omissions
6                        when raising investor funds
7          In 2014, 2015, and 2016, Essex lost a staggering amount of money. Its losses
8    from operating activities exceeded $31 million in that period. But as Essex struggled
9    with a leasing revenue shortfall, defendants continued to raise more than $30 million
10   from advisory clients of DIA and Granger. When doing so, they engaged in fraud.
11         To prove false and misleading statements and omissions, in violation of both
12   Section 17(a) and Section 10(b), the SEC must show that the defendants, with the
13   requisite state of mind, made material misrepresentations or omissions in connection
14   with the purchase or sale of a security, or obtained money by means of these false
15   statements in the offer or sale of a security. See SEC v. Platforms Wireless Intern.
16   Corp., 617 F.3d 1072, 1092 (9th Cir. 2010). Defendants’ misstatements and
17   omissions must concern material facts. Basic Inc. v. Levinson, 485 U.S. 224, 231-32
18   (1988); TSC Industries., Inc. v. Northway, Inc., 426 U.S. 438, 449 (1976). A fact is
19   material if there is a substantial likelihood that a reasonable investor would consider
20   it important in making an investment decision. See id.; Platforms Wireless, 617 F.2d
21   at 1092. Liability arises not only from affirmative representations but also from
22   failures to disclose material information. SEC v. Dain Rauscher, 254 F.3d at 855-56.
23   The antifraud provisions impose “‘a duty to disclose material facts that are necessary
24   to make disclosed statements, whether mandatory or volunteered, not misleading.’”
25   SEC v. Fehn, 97 F.3d 1276, 1290 n.12 (9th Cir. 1996).
26         The SEC has proven three sets of material misrepresentations and omissions by
27   Iannelli and Essex. First, in the course of procuring more than $7 million in
28   investments from DIA’s clients, Iannelli provided DIA with false financial statements

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1    that inflated the company’s asset values by tens of millions of dollars. When Essex
2    restated those financials, years later, the correction swung the company’s reported
3    financial condition to such a great extent that Essex’s independent accountant
4    included going concern notes to each of Essex’s restated financials. Defendants
5    misrepresentations were plainly material. See SEC v. Murphy, 626 F.2d 633, 653 (9th
6    Cir. 1980) (“surely the materiality of information relating to financial condition,
7    solvency and profitability is not subject to serious challenge”).
8          Second, Essex and Iannelli never assigned a single lease to the Granger-funded
9    LLC investment vehicles, a structure that Granger and Essex agreed upon because
10   Granger “wanted a vehicle that had our name on it,” with “our assets put in there,” in
11   which Granger’s clients would be fully-secured by equipment held in the LLC
12   vehicle itself. Defendants could not follow through on their representations because
13   the equipment in Essex’s leasing portfolio had already been pledged as collateral for
14   Essex’s commercial bank loans. Had Granger known this, it would not have invested
15   its clients in Essex. Moreover, Iannelli promised to match every dollar invested by
16   Granger’s clients, and he never did. The $23 million cash-inflow Essex raised from
17   Granger clients was the product of a fraud.
18         Third, and finally, Iannelli made an absurd amount of personal guarantees to
19   his promissory note investors – $60 million in all – despite lacking the financial
20   wherewithal to follow through on that commitment. Iannelli’s financial guarantee
21   was a key consideration in DIA’s decision to invest its clients with Essex, yet DIA
22   was given no hint as to the true extent of the debt guaranteed by Iannelli at the time.
23   When questioned on whether he had ever disclosed that fact to the many investors
24   receiving his financial guarantee, Iannelli glibly claimed that “no one ever asked me.”
25                3.     Essex’s promissory notes are securities
26         The promissory notes Essex offered by Essex to Iannelli’s friends and business
27   associates, DIA clients, and Granger clients, are securities in the form of investment
28   contracts. In SEC v. W. J. Howey Co., 328 U.S. 293, 298-99 (1946), the Supreme

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1    Court defined an investment contract to require: (1) the investment of money; (2) in
2    a common enterprise; (3) with an expectation of profits to be derived solely from the
3    efforts of the promoter or a third party. Each element is met here.
4          First, Iannelli solicited investors to provide funding for Essex. Second, the
5    “common enterprise” prong of the Howey test is satisfied by the existence of either
6    horizontal commonality (pooling of investor funds and interests) or narrow vertical
7    commonality (the fortunes of the investors are linked with those of the promoter).
8    SEC v. R.G. Reynolds Enters., Inc., 952 F.2d 1125, 1130 (9th Cir. 1991). Horizontal
9    commonality was present since Iannelli pooled investor funds into a common bank
10   account and used these funds to operate Essex. See R.G. Reynolds Enter., Inc., 952
11   F.2d at 1134 (“The pooling of investors’ funds to finance the construction of a plant
12   where their ore was to be refined establishes horizontal commonality.”) Moreover,
13   Essex made Ponzi-styled payments to investors. See SEC v. SG Ltd., 265 F.3d 42, 51
14   (1st Cir. 2001) (Ponzi schemes typically satisfy the horizontal commonality
15   standard). Narrow vertical commonality was also present. Essex’s business model
16   was that it would purchase equipment, lease it at 10% interest rate, and pay investors
17   up to 8.5% on their invested funds. Therefore, based on this model, Essex’s fortunes
18   were tied to those of its investors – the way that Essex generated a profit from its
19   leases and the way that investors would recognize a return on its investments were the
20   same, namely, via the equipment leasing revenue from Essex’s lessees. See R.G.
21   Reynolds Enter., Inc., 952 F.2d at 1134 (narrow vertical commonality can be shown
22   by an “arrangement to share profits on a percentage basis” between an investor and a
23   promoter). Third, investors reasonably expected to profit from their investments
24   based on the efforts of Essex and Iannelli. Iannelli was solely responsible for Essex
25   and its continued operations (equipment purchases, lease negotiations with third party
26   start-up companies, and lease collection efforts), and was wholly responsible for
27   deriving returns for the entirely passive Essex promissory note investors.
28   Defendants’ fraud was in connection with the purchase or sale of a security, as well

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1    as in the offer or sale of a security.2
2                  4.     Iannelli and Essex acted unreasonably and with scienter
3           Defendants acted unreasonably and with scienter. While claims under Section
4    10(b) and Section 17(a)(1) require a showing of scienter, Sections 17(a)(2) and (3)
5    only require a showing of negligence. See Aaron v. SEC, 446 U.S. 680, 701-02
6    (1980); Vernazza v. SEC, 327 F.3d 851, 859-60 (9th Cir. 2003). Scienter is proven
7    with “‘knowing or reckless conduct,’ without a showing of ‘willful intent to
8    defraud.’” Vernazza, 327 F.3d at 860; Hollinger v. Titan Capital Corp., 914 F.2d
9    1564, 1568-69 (9th Cir. 1990). To establish negligence, the SEC must show that the
10   defendants failed to conform to the standard of care that would be exercised by a
11   reasonable person. See Dain Rauscher, 254 F.3d at 856; SEC v. Hughes Capital
12   Corp., 124 F.3d 449, 453–54 (3d Cir.1997) (defining negligence in the securities
13   context as the failure to exercise reasonable care or competence).
14          Iannelli’s course of conduct was not just unreasonable under the circumstances;
15   he also acted either knowingly or recklessly when carrying out the foregoing fraud.
16   First, with respect to Essex’s concerted pattern of making Ponzi-like payments to
17   meet its ongoing obligations to investors, the frequency and extent to which Iannelli
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     2
       Separately, the promissory notes that Essex issued to Iannelli’s friends and business
20   associates and to DIA’s clients are also securities under Reves v. Ernst & Young, 494
     U.S. 56 (1990). The notes issued by Essex satisfy the four Reves factors. First, Essex
21   issued notes to raise money for its operations, and in exchange, offered noteholders
     interest rates averaging 8%. From both sides, the transaction is “most naturally
22   conceived as an investment in a business enterprise.” Id. at 68. Second, under Reves,
     “common trading” is established if the notes are “offered and sold to a broad segment
23   of the public.” Id. at 68. Though the notes were not publicly traded, since 2014
     Essex issued over 100 promissory notes to at least 70 investors, raising over $80
24   million. See SEC v. R.G. Reynolds Enterprises, Inc. 952 F.2d 1125, 1131 (9th
     Cir.1991) ($2 million raised from 148 investors were offered to a broad segment of
25   the public). Third, a reasonable investor would believe that the promissory notes
     were investments; for example, DIA recommended the notes to its clients as
26   investments. Fourth, there are no risk-reducing factors such as another regulatory
     scheme that would make application of the securities laws unnecessary. The notes
27   are unsecured and uninsured, and would escape federal regulation entirely if the
     securities laws were held not to apply.
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1    resorted to those tactics, along with his intimate knowledge of Essex’s intractable
2    financial difficulties, demonstrate Iannelli’s scienter.
3          Second, Essex’s false financial statements were predicated on an incorrect
4    share count for the company’s stock holdings in Revance, one of its lessees. Those
5    false financials were prepared on the assumption that Essex owned 1.5 million shares,
6    when in truth the company’s holdings were in the range of 145,000 shares. Iannelli
7    knew that truth: more than a year before Essex provided its false financials to DIA,
8    Iannelli had received, on three occasions, documentation from Revance and its
9    transfer agent showing that Essex owned nothing close to the 1.5 million shares that
10   its independent accountant had been led to believe.
11         Third, defendants’ representation that Granger’s clients would be secured by
12   and hold an ownership interest in the equipment leases financed by their investments
13   was likewise knowingly false when made. Because Essex’s acquired equipment was
14   being pledged to its bank lender, it was impossible for Essex to follow through on its
15   promise, and Iannelli knew that. And so when Iannelli purported to execute written
16   assignments of leases to the Granger LLC vehicles, he deliberately excluded any list
17   or schedule identifying the leases Essex had purportedly assigned.
18         Fourth, Iannelli testified that he knew that his personal guarantee, on its own,
19   could not provide assurance for all the debt he was taking on, on behalf of Essex,
20   because the debt he was guaranteeing far exceeded his net worth. Nonetheless,
21   Iannelli hid that material fact from Essex’s investors on the pretext that “no one ever
22   asked me.”
23         And last, Essex acted with scienter because Iannelli is its owner, operator, and
24   representative; this Court may accordingly impute Iannelli’s scienter to Essex. See
25   SEC v. Manor Nursing Centers, Inc., 458 F.2d 1082, 1089 n.3 (2d Cir. 1972); SEC v.
26   Franco, 253 F. Supp. 2d 720, 728 (S.D.N.Y. 2003) (“a person’s knowledge can be
27   attributed to a corporation in connection with actions which that person through his
28   control causes the corporation to take.”); In re Parmalat Securities Litigation, 684 F.

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1    Supp. 2d 453, 471 (S.D.N.Y. 2010).
2          C.     This Court Should Issue a Preliminary Injunction Because
3                 Defendants’ Violations Are Likely To Continue
4          Iannelli and Essex should be preliminarily enjoined because there is a
5    reasonable likelihood their violations will be repeated unless they are restrained.
6    Whether a likelihood of future violations exists depends upon the totality of the
7    circumstances. See SEC v. Murphy, 626 F.2d 633, 655 (9th Cir. 1980); SEC v. Fehn,
8    97 F.3d 1276, 1295-96 (9th Cir. 1996). The existence of past violations may give rise
9    to an inference that there will be future violations. See Murphy, 626 F.2d at 655; SEC
10   v. United Financial Group, Inc., 474 F.2d 354, 358-59 (9th Cir. 1973); see also U.S.
11   v. Odessa Union Warehouse Co-Op, 833 F.2d 172, 176 (9th Cir. 1987). Courts also
12   consider factors such as the degree of scienter, the isolated or recurrent nature of the
13   violative conduct, the defendant’s recognition of the wrongful nature of the conduct,
14   the likelihood that, because of the defendant’s occupation, future violations may
15   occur, and the sincerity of defendant’s assurances against future violations. See
16   Murphy, 626 F.2d at 655.
17         Essex is operating at a severe deficit. Iannelli claims to have a plan to pull his
18   company out of this tailspin, but the only means for him to do so are to convince
19   Essex’s bank to resume lending and, critically, recommence raising funds from
20   individual promissory note holders. That is because a substantial amount of Essex’s
21   current promissory note obligations are maturing, while at the same time, the majority
22   of Essex’s actual income from leasing operations is being used to pay its bank debt.
23   The only way for Essex to meet its promissory note obligations is to raise new
24   money. Iannelli steadfastly wants to continue his business. But without an influx of
25   new investor funds – and a resumption of Essex’s Ponzi-styled use of those incoming
26   investor funds to service its debt to existing promissory note investors, all in
27   continuing violation of the federal securities laws – he can’t do that.
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1          D.     This Court Should Grant the Additional Relief Sought by the SEC
2                 1.     An asset freeze is warranted
3          Federal courts have inherent equitable authority to freeze assets under their
4    “inherent equitable power to issue provisional remedies ancillary to its authority to
5    provide final equitable relief.” Reebok Int’l, Ltd v. Marnatech Enterprises, Inc., 970
6    F.2d 552, 559 (9th Cir. 1992); SEC v. Wencke, 622 F.2d 1363 at 1369 (1980). These
7    powers include the authority to freeze assets of both parties and nonparties. SEC v.
8    Hickey, 322 F.3d 1123, 1131 (9th Cir. 2003); SEC v. Int’l Swiss Invs. Corp., 895 F.2d
9    1272, 1276 (9th Cir. 1990). Courts use freeze orders to prevent waste and dissipation
10   of assets and to ensure their availability for disgorgement for the benefit of victims of
11   the fraud. See, e.g., Hickey, 322 F.3d at 1132; Manor Nursing, 458 F.2d at 1105-06.
12   Indeed, the Ninth Circuit has found that “the public interest in preserving the illicit
13   proceeds [of a defendant’s fraud] for restitution to the victims is great.” FTC v.
14   Affordable Media, LLC, 179 F.3d 1228, 1236 (9th Cir. 1999). Courts have similarly
15   recognized that a disgorgement order can be rendered meaningless unless an asset
16   freeze is entered at the outset of the case. See SEC v. Unifund SAL, 910 F.2d 1028,
17   1041 (2d Cir. 1990). “A party seeking an asset freeze must show a likelihood of
18   dissipation of the claimed assets, or other inability to recover monetary damages if
19   relief is not granted.” Johnson v. Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009).
20   Courts consider a defendant’s prior unlawful acts and the location of the assets in
21   considering whether an asset freeze is warranted. See, e.g., id. at 1085; Affordable
22   Media, 179 F.3d at 1236; Manor Nursing, 458 F.2d at 1106.
23         In the last year, Essex has liquidated millions of dollars in securities,
24   transferred stock holdings, and encumbered its investment portfolio with a multi-
25   million dollar margin loan, all in an effort to stay financially afloat. In addition,
26   Essex has agreed to redeem a select few investors in full, thereby ensuring that some
27   of its noteholders, but not others, will be made whole. Given the threat of preferential
28   investor treatment, this Court should issue an asset freeze and, as discussed below,

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1    appoint an equity receiver over Essex.
2                 2.     This Court should appoint a permanent receiver over Essex
3          The Court has broad discretion to appoint an equity receiver in SEC
4    enforcement actions. See Wencke, 622 F.2d at 1365. The breadth of this discretion
5    “arises out of the fact that most receiverships involve multiple parties and complex
6    transactions.” SEC v. Capital Consultants, LLC, 397 F.3d 733, 738 (9th Cir. 2005)
7    (quotation omitted). A receiver plays a crucial role in preventing further dissipation
8    and misappropriation of investors’ assets. Wencke, 783 F.2d at 836-37 n.9. Factors
9    such as the integrity of management and the likelihood of future misuse of assets are
10   critical in determining whether a receiver should be appointed. See SEC v. Fifth Ave.
11   Coach Lines, Inc., 289 F. Supp. 3, 42 (S.D.N.Y. 1968). Courts have found a
12   receivership to be justified where management of an entity, collection of revenue, and
13   or distribution of investor funds are required. See, e.g., SEC v. Credit First Fund,
14   2006 WL 4729240, at *15 (C.D. Cal. 2006).
15         Iannelli should not be allowed to continue his control of Essex. To begin with,
16   Iannelli and Essex engaged in fraud, and the object of that fraud was to preserve the
17   illusion that Essex’s business model worked. But there is no real dispute that it
18   didn’t. And at this point, the toothpaste cannot go back in the tube. Essex’s financial
19   condition is precarious and it appears to have no reasonable prospect of returning to
20   profitability without resorting to the same pattern of misconduct that forms the basis
21   for this case in the first instance – raising new money from investors to stay current
22   on Essex’s debt obligations to old investors.
23         The risk of keeping Essex under Iannelli’s control has already coalesced. As
24   one example, when Iannelli restructured the debt of one promissory note holder last
25   year – a social friend of his – Iannelli transferred $900,000 in securities to secure the
26   note holder’s agreement to defer payment to a later date. Iannelli has also fully
27   redeemed certain investors, while knowing that if all of his noteholders sought to
28   redeem their mature debt, Essex could not conceivably honor those requests. That is

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1    precisely why a receiver should be appointed to assess Essex’s financial affairs and
2    make a recommendation on how to proceed that is aimed at arriving at a fair and
3    equitable outcome for all of Essex’s investors, not just those with the good fortune of
4    being able to secure a favorable deal with Iannelli directly.
5                 3.     Accounting and preservation orders are needed
6          The Court’s broad equitable powers in SEC enforcement actions include the
7    ability to order ancillary relief to require an accounting and prohibit document
8    destruction. See Wencke, 622 F.2d at 1369. The Court should enter an order
9    prohibiting the destruction of documents and requiring the defendants to prepare
10   accountings, so the SEC can identify all available assets, to help ensure that funds and
11   assets are frozen properly and available to satisfy any future order of disgorgement or
12   civil penalties against defendants. See Int’l Swiss Invs. Corp., 895 F.2d at 1276.
13   IV.   CONCLUSION
14         For the foregoing reasons, the SEC respectfully requests that the Court grant its
15   motion for a preliminary injunction.
16
17   Dated: June 5, 2018
18                                                  /s/ Gary Y. Leung
                                                   GARY Y. LEUNG
19                                                 DOUGLAS M. MILLER
20                                                 YOLANDA OCHOA
                                                   Attorneys for Plaintiff
21                                                 Securities and Exchange Commission
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1                                   PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address is:
3          U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
4          Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5    On June 5, 2018, I caused to be served the document entitled SEC’S
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS
6    MOTION FOR PRELIMINARY INJUNCTION, APPOINTMENT OF A
     RECEIVER, ASSET FREEZES, AND OTHER RELIEF on all the parties to this
7    action addressed as stated on the attached service list:
8    ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
     collection and mailing today following ordinary business practices. I am readily
9    familiar with this agency’s practice for collection and processing of correspondence
     for mailing; such correspondence would be deposited with the U.S. Postal Service on
10   the same day in the ordinary course of business.
11         ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
     which I personally deposited with the U.S. Postal Service. Each such envelope was
12   deposited with the U.S. Postal Service at Los Angeles, California, with first class
     postage thereon fully prepaid.
13
           ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
14   regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
     Angeles, California, with Express Mail postage paid.
15
     ☒      HAND DELIVERY: I caused to be hand delivered each such envelope to the
16   office of the addressee as stated on the attached service list.
17   ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
     by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
18   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
     Los Angeles, California.
19
     ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail to
20   the electronic mail address as stated on the attached service list.
21   ☒    E-FILING: By causing the document to be electronically filed via the Court’s
     CM/ECF system, which effects electronic service on counsel who are registered with
22   the CM/ECF system.
23   ☐     FAX: By transmitting the document by facsimile transmission. The
     transmission was reported as complete and without error.
24
           I declare under penalty of perjury that the foregoing is true and correct.
25
26   Date: June 5, 2018                          /s/ Gary Y. Leung
                                                GARY Y. LEUNG
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1                         SEC v. RALPH T. IANNELLI, et al.
              United States District Court—Central District of California
2                               Case No. 2:18-cv-05008
3                                  SERVICE LIST
4              Ralph T. Iannelli
               1486 East Valley Road
5              Montecito, CA 93108
6              Essex Capital Corporation
               1486  East Valley Road
7              2nd Floor
               Montecito, CA 93108
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